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 5                         UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                       No. CR-13-008-WFN-40

 9                      Plaintiff,                 ORDER GRANTING
10                                                 MOTION TO AMEND
     vs.                                           (ECF No. 1216)
11
12 ERIKA MICHELLE WOODS,
13
                        Defendant.
14
15         Defendant was released on bond and other pretrial conditions following a
16   bail hearing in the Central District of California before the duty Judge. She now
17   requests permission to move to Nevada. Neither her California Pretrial Services
18   Officer nor the Eastern District of Washington Pretrial Services opposes the
19   request. Defendant has been compliant with the pretrial release conditions and has
20   a minimal criminal history.
21         The Motion, ECF No. 1216, is GRANTED. Defendant’s conditions are
22   modified to the extent she may move to Nevada, provided, however, she shall
23   continue to be subject to electronic monitoring and the other conditions set by the
24   order entered in the Central District of California. In addition, she timely shall
25   submit to a chemical dependency assessment and random drug-testing if directed
26   by Pretrial Services. She shall be in contact with her attorney at least once a week
27   by telephone and as otherwise directed by her attorney. She shall be in contact
28   with her Pretrial Services Officer at least once a week by telephone and as



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 1   otherwise directed by Pretrial.
 2         IT IS SO ORDERED.
 3         DATED August 2, 2013.
 4
 5                             S/ CYNTHIA IMBROGNO
                         UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
